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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                     SAVANNAH DIVISION

UNITED STATES OF AMERICA,              )
                                       )
                Plaintiff,             )
                                       )
v.                                     )              CR419-069
                                       )
GILBERT BASALDUA, et. al.,             )
                                       )
                                       )
                Defendants.            )

                                    ORDER

      Before the Court is Defendant Basaldua’s Unopposed Joint Motion

for Permission to File Additional Motions. Doc. 115. Having granted the

motion    through    separate      order,   the   Court   finds   Defendant’s

accompanying request          to   extend existing   deadlines    reasonable.

Defendant’s pretrial motions are to be filed within 30 days of the date of

this order. The Government shall file its response to any defense motion

within 45 days of this order.

      SO ORDERED, this 25th day of September, 2019.



                                        ____________________________
                                        _______________________________
                                        CHR RIS
                                              STO
                                                OPHHER L. RAY
                                          HRISTOPHER
                                        UNITED STATES MAGISTRATE JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA
